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Attorneys for Plaintiff/Counterclaim Defendant Garden of Life, LLC


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


GARDEN OF LIFE, LLC,

       Plaintiff,

v.

RHEMA HEALTH PRODUCTS INC.,                     [PROPOSED] ORDER ON THE PARTIES’
                                                  STIPULATED MOTION TO AMEND
       Defendant.                                  SCHEDULING ORDER AND SET
                                                           DEADLINES

RHEMA HEALTH PRODUCTS INC.,                             Case No. 2:16-cv-01222-BSJ

       Third-Party Plaintiff,
                                                           Judge Bruce S. Jenkins
v.

TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

       Third-Party Defendant.


       The Court, having considered the Parties’ stipulated Motion to Amend Scheduling

Order and Set Deadlines, as well as the Parties’ arguments and positions at the hearing on
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August 28, 2018, GRANTS the Parties’ request to amend the scheduling order and set

deadlines, and enters the following order:

           •   The deadline for serving counter expert reports is set for October 19, 2018.

           •   The deadline for serving expert discovery is set for October 31, 2018.

           •   The deadline for filing dispositive or potentially dispositive motions is set for

               December 7, 2018.

           •   The deadline to complete expert discovery is set for December 20, 2018.

           •   The deadline for filing complete or partial motions to exclude expert testimony

               is set for January 11, 2019.

           •   The deadline for filing non-expert motions in limine is set for January 21, 2019.

           •   Plaintiff Garden of Life, LLC is to file its Rule 26(a)(3) Pretrial Disclosures on

               or by January 28, 2019.

           •   Defendant and Third-Party Plaintiff Rhema Health Products Inc. is to file its

               Rule 26(a)(3) Pretrial Disclosures on or by February 11, 2019.

           •   Third-Party Defendant Tri-Iso Tryline, LLC d/b/a Baobab Foods is to file its

               Rule 26(a)(3) Pretrial Disclosures on or by February 18, 2019.

           •   The deadline for the Parties to hold a Special Attorney Conference is March 15,

               2019.

           •   The Pretrial Order is due from the Parties on March 22, 2019.

           •   The Final Pretrial Conference is set for April 5, 2019 at 10:00 a.m.

           •   Trial is to be scheduled for mid- to late April 2019, on dates to be determined by

               the Court’s availability.

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      IT IS SO ORDERED.


Dated: ____________________
                                   Honorable Bruce S. Jenkins
                                   United States District Court Judge




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Approved as to Form:

MANNING CURTIS BRADSHAW                    CHRISTENSEN & JENSEN, P.C.
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